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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

JOAN L. MOSS, DONNA MOSS and
HENRY MOSS,

Plaintiffs, Civil No. 2:10-cv03018WOM
Vv.
AMENDED CONSENT
GABRIEL TORRES, RAUL PADRON, ORDER FOR REMAND
OLGA PADRON, MAYOR and TOWN COUNCIL
OF THE TOWN OF SECAUCUS, VINCENT
PRIETO and GERALD PERRICONE,

Defendants.

The matter having been initially removed from the Superior
Court of New Jersey, County of Hudson, Law Division, Docket No.
L-2477-10; and Plaintiffs having represented to the Court and to
all parties that the Complaint they filed in State Court does not
seek relief under the U.S. Constitution or any federal laws; and
all parties having consented te the remand of this matter;

It is on this 22° day of July 2010

ORDERED that this action is remanded to the Superior Court
of New Jersey, County of Hudson, Law Division bearing Docket No.

1-2477-10. s/William J. Martini

WILLIAM J. MARTINI, U.S.D.d.
Case 2:10-cv-03018-WJM-MF Document 7 Filed 07/22/10 Page 2 of 5 PagelD: 61

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